
		
				IN THE MATTER OF STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2023 OK 68Case Number: SCBD-7261Decided: 06/12/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 68, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2022 DUES



ORDER STRIKING NAMES



The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls for failure to pay dues as members of the Oklahoma Bar Association for the year 2022.

Pursuant to the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Oklahoma Bar Association and prohibited from practicing law in the State of Oklahoma by this Court's Order of June 6, 2022 and thereafter by Correction Order dated June 9, 2022, for failure to pay their 2022 dues in accordance with Article VIII, Section 2 of the Rules. Based upon the application, this Court finds that the Board of Governors determined at its May 19, 2023 meeting that none of the Oklahoma Bar Association members named on Exhibit A, attached hereto, have applied for reinstatement, pursuant to Article VIII, Section 4 of the Rules, at the time of the filing of its application. The Board of Governors further declared that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and that their names should therefore be stricken from the membership rolls and the Roll of Attorneys on June 12, 2023, pursuant to Article VIII, Section 5 of the Rules. This Court further finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

IT IS THEREFORE ORDERED that the attorneys named as set forth on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys on June 12, 2023 for failure to pay their dues as members of the Association for the year 2022.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12TH DAY OF JUNE, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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OBA # 447
Johnnie Brent Baker
1811 Bering Dr Ste 400
Houston, TX 77057-3186

OBA # 14986
Gordon Lynn Burch III
3101 NW 21st St
Oklahoma City, OK 73107-3009

OBA # 22552
Blaine Michael Dyer
16328 Muirfield Pl
Edmond, OK 73013-9145

OBA # 2691
Edward David Ellis
101 W Houston St
Paris, TX 75460-4179

OBA # 32227
Lindsey Marie Everett
5801 E 41st St Ste 300
Tulsa, OK 74135-5628

OBA # 32234
Krystal J. Godines Camarillo
307 Fuller Ave SE
Grand Rapids, MI 49506-1639

OBA # 4227
Michael W. Hinkle
PO Box 6956
Edmond, OK 73083-6956

OBA # 18084
Jeri L. Jones
1209 E Boston St
Broken Arrow, OK 74012-7245

OBA # 30213
Suzanne Reed Phillips
2862 Valentia St
Denver, CO 80238-2512

OBA # 19917
Kathleen Therese Ralson
418 W Juniper Dr
Mustang, OK 73064-3318

OBA # 11969
Marianne Shimanek Ratliff
813 Landsdowne Dr
Norman, OK 73072-4243

OBA # 30423
Jessica Justine Scruggs
3621 Meadow Lark Ln
Oklahoma City, OK 73120-8934

OBA # 14021
Pamela M. Snider
1523 N Oklahoma Ave
Shawnee, OK 74804-3848

OBA # 13389
Sherry Abbott Todd
3062 SE 37th St
Norman, OK 73072-8909

OBA # 32210
Kevin Mark Vincent
4332 Royal Ridge Dr
Dallas, TX 75229-5462

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